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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
 _________________________________________
 SAM HARGROVE, ANDRE HALL, and
 MARCO EUSOBIO, individually and on behalf
 of all others similarly situated,
                                                    Civil Action No. 10-1138 (PGS)
                 Plaintiffs,
                                                    CLERK’S ORDER
          v.                                        DISMISSING DEFENDANT’S
                                                    MOTION TO TAX COSTS
 SLEEPY’S LLC,                                      AS MOOT

                Defendant.


        Whereas Defendant Sleepy’s LLC (“Defendant”) has filed an amended motion for a bill

 of costs pursuant to Fed. R. Civ. P. 54(d) (1) and Local Civil Rule 54.1 [Dkt. Entry 91] and;

        Whereas the Third Circuit Court of Appeals has vacated the district court’s judgment in

 favor of Defendant [Dkt. Entry 99] and;

        Whereas Defendant is no longer a “prevailing party” within the meaning of Fed. R.

 Civ. P. 54(d) (1) and therefore, not entitled to relief under Fed. R. Civ. P. 54(d) (1);

        It is hereby ordered that Defendant’s amended motion for a bill of costs is hereby

 dismissed as moot.


                                                                William T. Walsh, Clerk

                                                                By: S/John T. O’Brien
                                                                      Deputy Clerk

 Date: July 13, 2015
